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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                                                MDL No. 1873
FORMALDEHYDE
PRODUCTS LIABILITY LITIGATION                                                     SECTION N(5)

                                                                        JUDGE ENGELHARDT

THIS DOCUMENT RELATES TO
Blackmon, et al v Coachmen Industries, Inc.. et al
Case No. 2:10-cv-1359
______________________________________________________________________________

        SUPPLEMENTAL AND AMENDING COMPLAINT FOR DAMAGES
______________________________________________________________________________

       NOW INTO COURT, come Plaintiffs in the above captioned matter who, through

undersigned counsel, respectfully reiterate and re-aver all of the allegations, claims and prayers

for relief contained in their Complaint for Damages filed on their behalf in the Southern District

of Mississippi on December 23, 2009. The case transferred to this Court on May 4, 2010

(Original Docket Number 1:09-cv-830). Plaintiffs respectfully move this Honorable Court for

leave to supplement and amend the operative complaint pursuant to Fed. Rules Civ. Proc. Rule

15 which states “[t]he court should freely give leave when justice so requires”, and Pursuant to

Fed Rules Civ Proc. 20 and 21.

       1.      This First Supplemental and Amending Complaint for Damages adds the

following Named Plaintiffs: Billy Raine, Wayne Hendon, Susan K. Hendon, Shanae Carter, C.

C. by Shanae Carter, A. C. by Shanae Carter, Z. C. by Shanae Carter, D. R. H., II by Shanae

Carter, George Washington, Jr., and Cora Williams (hereinafter referred to as “Newly Added

Plaintiffs”), in the above captioned matter.
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        2.     Consistent with the above, Plaintiffs request that Newly Added Plaintiffs be

               added

to Exhibit “A” listing of Named Plaintiffs, which is attached hereto.

        3.     Upon information and belief, the Newly Added Plaintiffs resided in the same type

of emergency housing unit manufactured by Coachmen Industries, Inc., Coachmen Recreational

Vehicle company, and Coachmen Recreational Vehicles of Georgia, LLC, as the existing

plaintiffs.

        4.     Newly added Plaintiffs have also been matched to Defendant Contractor

Bechtel as indicated in Exhibit “A”.

        5.     Newly Added Plaintiffs adopt all of the allegations, claims and prayers for relief

contained in the Complaint for Damages filed with the Southern District of Mississippi Southern

Division on December 23, 2009 (Civil Action No. 1:09-cv-830) which has since transferred via

electronic file certified to this court on May 4, 2010, and been assigned case number 2:10-cv-

1359.

        6.     The Plaintiffs (hereinafter, “Named Plaintiffs”), who are all named in the annexed

listing of all Named Plaintiffs (attached hereto as “Exhibit A”), respectfully represents through

undersigned counsel that they be added to original Complaint.

        Respectfully submitted, this the 28th day of May, 2010.


                                                     By:      s/Edward Gibson
                                                             EDWARD GIBSON, ESQ.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by firs-class mail to all counsel of record who are non-

CM/ECF participants.


                                                                s/Edward Gibson
                                                              EDWARD GIBSON, ESQ.




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